                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 4:06-cr-6
 vs.                                                  )
                                                      )       JUDGE COLLIER
 MICHAEL D. SALES                                     )


                                MEMORANDUM AND ORDER

        MICHAEL D. SALES (“Defendant”) appeared for an initial appearance before the
 undersigned on September 14, 2015, in accordance with Rule 32.1 of the Federal Rules of
 Criminal Procedure on the Petition for Warrant for Offender Under Supervision (“Petition”).

         After being sworn in due form of law, Defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

         It was determined Defendant wished to be represented by an attorney and that he
 qualified for the appointment of an attorney to represent him at government expense. Federal
 Defender Services of Eastern Tennessee, Inc. was APPOINTED to represent Defendant. It was
 determined Defendant had been provided with a copy of the Petition and the Warrant for Arrest
 and had the opportunity of reviewing those documents with his attorney. It was also
 determined he was capable of being able to read and understand the aforesaid document.

        The government called USPO Crystal Johnson as a witness and moved that Defendant be
 detained pending the revocation hearing.

                                             Findings

        (1) Based upon USPO Johnson’s testimony, the undersigned finds there is
        probable cause to believe Defendant has committed violations of his conditions of
        supervised release as alleged or set forth in the Petition.

        (2) Defendant has not carried his burden under Rule 32.1(a)(6) of the Federal Rules
        of Criminal Procedure, that, if released on bail, he will not flee or will not pose a
        danger to the community.




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                                          Conclusions

       It is ORDERED:

       (1) The motion of the government that Defendant be DETAINED WITHOUT
       BAIL pending the revocation hearing before U.S. District Judge Curtis L. Collier is
       GRANTED.

       (2) The U.S. Marshal shall transport Defendant to a revocation hearing before
       Judge Collier on Thursday, November 12, 2015, at 9:00 am.

       ENTER.

                                            s/Christopher H. Steger
                                            UNITED STATES MAGISTRATE JUDGE




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